
ORDER
Writs Granted. The judgment of the court of appeal is vacated. The appellate court’s discussion of the constitutionality of § 1604, Canon 4(A)(7) of the Code of Professional Ethics for Licensed Rehabilitation Counselors is not appropriate as that issue was not raised by the parties. See Vallo v. Gayle Oil Company, Inc., 94-1238 (La.11/30/94), 646 So.2d 859, 864 (stating the longstanding jurisprudential rule of law in Louisiana that litigants must raise constitutional attacks in the district court, not the appellate courts, and the constitutional challenge must be specially pleaded and the grounds for the claim particularized). Accordingly, this matter is remanded to the court of appeal to address the applicability of La.Code Civ. Proc. art. 971 based on the showing made, i.e., plaintiffs petition as presently drafted.
